      Case 2:13-cr-00300-GEB Document 400 Filed 05/03/18 Page 1 of 2


1

2

3                          UNITED STATES DISTRICT COURT

4                         EASTERN DISTRICT OF CALIFORNIA

5

6    UNITED STATES OF AMERICA,              No.       2:13-cr-300-GEB
7                  Plaintiff,               ORDER STRIKING AND DISREGARDING
                                            CERTAIN OF DEFENDANT RICHARD
8         v.                                HEMSLEY’S FILINGS
9    JOHN MAHAN, ET AL.,
10                 Defendants.
11

12               The    United   States    of    America     moves      for   an   order

13   striking and disregarding “defendant Richard Hemsley’s two pro se

14   motions that he filed while still represented by court-appointed

15   defense counsel, David Fischer, Esq.”              Pltf’s Mot at 1:21-22, ECF

16   No. 392.    Specifically, the United States seeks to have stricken

17   the following:      “(1) Hemsley’s ‘Demurrer Motion to Dismiss’ filed

18   on March 12, 2018, (ECF Document 378) . . . and (2) Hemsley’s

19   ‘Petition Motion Resolution Replevin’ filed April 2, 2018 (ECF

20   Document 387).”       Id. at 1:23-25.            The United States argues it

21   “makes this motion to strike on the grounds that this Court need

22   not, and should not, consider Hemsley’s improperly noticed pro se

23   motions that were filed during the time he was represented by

24   counsel.”    Id. 2:9-11.

25               “The   decision    to   allow    a    defendant   to    proceed   with

26   . . . hybrid representation is . . . left to the sound discretion

27   of the trial judge.”          Locks v. Sumner, 703 F.2d 403, 408 (9th

28   Cir. 1983).       A criminal defendant represented by counsel has no
                                            1
      Case 2:13-cr-00300-GEB Document 400 Filed 05/03/18 Page 2 of 2


1    right to act as his own co-counsel in such matters, because a

2    federal    judge   is   not     “require[d]   .   .   .   to   permit   ‘hybrid’

3    representation of the type [Hemsley] was actually [engaged].”

4    McKaskle   v.   Wiggins,      465   U.S.   168,   183     (1984).    Therefore,

5    Hemsley’s “Demurrer Motion to Dismiss” filed on March 12, 2018,

6    (ECF   Document    378)   and    Hemsley’s    “Petition     Motion   Resolution

7    Replevin” filed April 2, 2018 (ECF Document 387) are stricken and

8    disregarded.

9    Dated:    May 2, 2018

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                            2
